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wo, Department of Labor and Employment
PHILIPPINE OVERSEAS EMPLOYMENT ADMINISTRATION
CONTRACT OF EMPLOYMENT

KNOWN ALL MEN BY THESE PRESENTS:

This Contract, entered into voluntarily by and between:
Name of Seafarer: CARPIO JR., DIOGENES MENDOZA

Date of Birth : 04/25/1975 Age: 40 Place of Birth MANILA
Address: 329 CAPALANGAN, APALIT, PAMPANGA

SIRB No.: C€0689126 SRC No.: 0391777-99

License No. :

hereinafter referred to as the Employee, and
Name of Agent: C.F. SHARP CREW MANAGEMENT, INC.
Address of Agent: CASA ROCHA 290-292 GENERAL LUNA ST. INTRAMUROS, MANILA.
For and in behalf of NORWEGIAN CRUISE LINE, LTD.
7665 CORPORATE CENTER DRIVE, MIAMI FLORIDA, USA 33126
(Principal/Country)

For the Vessel: M/S NORWEGIAN SKY (DECK AND ENGINE)

IMO No. : 9128532 Gross Registered Tonnage (GRT) : 77104 Flag: BAHAMAS
Official No. : 731038 Year Built: 1999 Vessel Type: PASSENGER / CRUISE SHIP
CBA Affiliation: NSU CBA Classification Society: DNV
hereinafter referred to as the Employer.
WITNESSETH

1. That the employee shall be employed onboard under the following terms and conditions

1.1 Duration of Contract 6.00 months

1.2 Position 2ND OFFICER

1.3 Basic $ 1,593.00 per month

1.4 GTD O/T Pay $ 1,611.00 per month to 130 hours + 10 hours Public Holidays

1.5 Vacation/Subsistence Allow. $ 451.00 per month

1.6 Seniority Pay $ 192.00 permonth First Hire Date: May 12, 2002

1.7 Special Monthly Incentives $ 0.00 per month

1.8 Total Monthly Pay to Seafarer $ 3,847 per month

1.9 O/T rate $ 12.24 per hour for extra O/T in excess of GID O/T pay

1.10 Provident Fund $ 75.00 (Directly remitted to AMOSUP)

1.11 Union Fee $ 20.00 (Directly remitted to UNION)

1.12 Subsistence Allowance $ 0.00 per accrued vacation/leave day

1.13 POINT OF HIRE MANILA

2. The herein terms and conditions in accordance with Governing Board Resolution No. 9 and Memorandum Circular No. 10,

both Series of 2010, shall be strictly and faithfully observed.

3. The shipowner shall provide decent working and living conditions onboard the ship. Likewise, the health and social security
protection benefits shall also be provided to the seafarer.

4. Any alterations or changes, in any part of this Contract shall be evaluated, verified, processed, and approved by the Philippine
Overseas Employment Administration (POEA). Upon approval, the same shall be deemed an integral part of the Standard
Terms and Conditions Governing the Employment of Filipino Seafarers On Board Ocean-Going a

5. Violations of the terms and conditions of this Contract with its approved addendum shall be ground for disci tiny action
against the erring party. A
IN WITNESS WHEREOF, the parties have hereto set their hands this 19 of August 2015 at Manila, Philippines.

‘NES MENDOZA JICKIE P. LAGAN

Seafarer For the Employer

Verified and approved by the POEA™ DEPARTMENT OF LABOR AND GMPLOYIEAtC
. PHILIPPINE OVERSEAS DMPLOYMENT ADMINISTRATION

ae Signatgre of POBA Official

CARPIO JR., D

